Case 3:15-cv-01415-JPG-DGW Document 77 Filed 06/19/18 Page 1 of 2 Page ID #508



                                 UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF ILLINOIS

     TYRONE GABB,

                                      Plaintiff,        Case No. 3:15-CV-01415

     v.

     WEXFORD WEALTH SOURCE, INC.,
     JOHN COE, and NURSE KIMMEL,

                                      Defendants.

                                            ENTRY OF APPEARANCE

            To the Clerk of Court and all parties of record:

            I hereby enter my appearance as counsel on behalf of Plaintiff, Tyrone Gabb.


 Dated: June 19, 2018
                                                      Respectfully submitted
                                                      By: /s/ David M. Shapiro

                                                      David M. Shapiro1
                                                      Director of Appellate Litigation, Roderick and
                                                        Solange MacArthur Justice Center
                                                      Clinical Assistant Professor of Law
                                                      Northwestern Pritzker School of Law
                                                      375 E. Chicago Avenue
                                                      Chicago, IL 60611
                                                      (312) 503-0711
                                                      david.shapiro@law.northwestern.edu

                                                      Counsel for Petitioner
                                                      TYRONE GABB




 1
     Representation in this case limited to appeal.
Case 3:15-cv-01415-JPG-DGW Document 77 Filed 06/19/18 Page 2 of 2 Page ID #509



                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 19, 2018, the foregoing Entry of Appearance was filed

 electronically with the Clerk of Court to be served on all counsel of record via the Southern

 District of Illinois CM/ECF filing system.


                                                  By: /s/ David M. Shapiro
